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                 Exhibit 13
       Declaration of Chelsia Rice
             (Jul. 16, 2023)
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                 UNITED STATES DISTRICT COURT, DISTRICT OF MONTANA
                                   BUTTE DIVISION

             THE IMPERIAL SOVEREIGN COURT
             OF THE STATE OF MONTANA; ADRIA
             JAWORT; RACHEL CORCORAN; THE
             MONTANA BOOK COMPANY; IMAGINE
             BREWING COMPANY, LLC d/b/a                           Cause No. CV 23-50-BU-
             IMAGINE NATION BREWING                                       BMM
             COMPANY; BUMBLEBEE AERIAL
             FITNESS; MONTANA PRIDE; THE
             WESTERN MONTANA COMMUNITY                           Declaration of Chelsia Rice
             CENTER; THE GREAT FALLS LGBTQ+
             CENTER; THE ROXY THEATER; and
             THE MYRNA LOY,

                                                Plaintiffs,
                                vs.

               AUSTIN KNUDSEN; ELSIE ARNTZEN;
               J.P. GALLAGHER; and the CITY OF
               HELENA,

                                                Defendants.
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            I, Chelsia Rice, declare as follows:

            1.       I am over the age of eighteen years, am competent to testify as to

                     the matters set forth herein, and I make this declaration based

                     upon my personal knowledge and belief.

            2.       I am a resident of Helena, Montana.

            3.       I am the co-owner of the Montana Book Company, a bookstore

                     located in the heart of downtown Helena. Montana Book

                     Company has operated in Helena for over 45 years. My partner

                     Charlie Crawford and I have owned it for five years.

            4.       Montana Book Company carries a variety of genres of new books

                     for both adults and youth with a focus on minority voices and

                     issues.

            5.       Montana Book Company also serves as an inclusive community-

                     building place. We offer author readings, workshops, social

                     gatherings, and regularly occurring book clubs for all ages and

                     interests.

            6.       House Bill 359 (“HB 359”) appears to prohibit any private entity

                     that receives state funding from holding a “sexually oriented

                     performance.”


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            Declaration of Chelsia Rice
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            7.       Montana Book Company has received state funding in the form of

                     COVID relief, and I anticipate it may receive state funding in the

                     future through business development grants, tax rebates, and arts

                     and humanities grants.

            8.       The Montana Book Company offers books and hosts book readings

                     that include depictions of sexual content as defined by HB 359.

            9.       For example, on Wednesday, June 21, 2023, Montana Book

                     Company hosted “An Evening with Debra Magpie Earling,” in

                     which the Montana-Native American novelist spoke about her

                     books Perma Red and The Lost Journals of Sacajawea.

            10.      During the event, Ms. Magpie Earling read a chapter from her

                     book that included descriptions of genitalia within the context of

                     the time and culture of Sacajawea’s life. Under HB 359, the

                     reading of this section could be considered a “sexually oriented

                     performance.”

            11.      Similarly, on April 29, 2023, Montana Book Company hosted an

                     event with Montana author Maxim Loskutoff, during which Mr.

                     Loskutoff read from his award-winning book Ruthie Fear and

                     discussed another of his stories that included a depiction of


                                                                                          3
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                     bestiality. Under HB 359, Mr. Loskutoff’s discussion could have

                     been considered a “sexually oriented performance.”

            12.      In order to engage the community and provide a safe space for

                     fellow LGBTQ+ Montanans, Montana Book Company has also

                     hosted drag story hour events during Montana Pride, at which

                     drag performers read children’s books to families. Under HB 359,

                     the use of prosthetic cleavage at these events could be considered

                     a “sexually oriented performance.”

            13.      Despite threats of violence and protests, last year’s event was

                     incredibly popular with community members of all ages, drawing

                     a crowd of over a hundred and fostering an inclusive and

                     welcoming environment for all attendees.

            14.      I fear that Montana Book Company, its employees, and I could

                     face criminal and civil penalties for offering books, author

                     readings, and other events like those described above.

            15.      I have no way of knowing whether the State of Montana will enforce

                     HB 359 to criminally charge or penalize me, Montana Book

                     Company, or our employees.

            I declare under penalty of perjury that the foregoing is true and correct.


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            Declaration of Chelsia Rice
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            DATED this 17th day of July, 2023, in Cutbank, Montana.




                                                             Chelsia Rice




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            Declaration of Chelsia Rice
